            Case 2:20-cr-00094-RSM Document 73 Filed 09/18/20 Page 1 of 3




01

02

03

04

05

06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )          CASE NO. CR20-094 RSM
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )          ORDER DENYING REQUEST FOR
11   GUSTAVO SANDOVAL-AGURCIA,            )          EMERGENCY RELEASE
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14

15         Defendant is charged in a multi-defendant case with Conspiracy to Distribute Controlled

16 Substances, to wit, methamphetamine, cocaine and fentanyl.          He is also charged with

17 Possession of Methamphetamine, Cocaine and Heroin With Intent to Distribute. A detention

18 order was entered by this Court on August 17, 2020. (Dkt. 53.)

19         Defendant now moves for temporary release under 18 U.S.C. §3142. (Dkt. 70.)

20 Presumably, the motion is brought under § 3142(i), which allows the Court to permit the

21 temporary release of defendant if “necessary for preparation of the person’s defense or for

22

     ORDER DENYING REQUEST FOR
     EMERGENCY RELEASE

     PAGE -1
            Case 2:20-cr-00094-RSM Document 73 Filed 09/18/20 Page 2 of 3




01 another compelling reason”. (Id.) The government opposes release. (Dkt. 71.) The motion was

02 referred by The Honorable Ricardo S. Martinez to the undersigned for decision.

03          Defendant has been charged with a drug offense, the maximum penalty of which is in

04 excess of ten years. There is therefore a rebuttable presumption against defendant as to both

05 dangerousness and flight risk, under 18 U.S.C. § 3142(e). Defendant is a native and citizen of

06 Honduras. He lacks legal status in the United States. He does not have ties to the United States,

07 and has family in Honduras, including a wife and children. He does not have a stable

08 employment history and does not have an appropriate release plan. At the time of the detention

09 hearing, the Court found the record did not effectively rebut the presumption that no condition

10 or combination of conditions will reasonably assure the appearance of the defendant as required

11 and the safety of the community.

12          Defendant does not argue these conditions have changed. Rather, he describes the

13 difficulties in communicating effectively with counsel as a result of restrictions imposed by the

14 Federal Detention Center (FDC) in order to address health risks posed by the COVID-19

15 pandemic. As defense counsel notes, § 3142(i) allows the court to order temporary release

16 under these conditions.

17          Defense counsel describes difficulties with the scheduling of interpreters, shortened

18 phone calls, increasing demands on available phone lines at the FDC, lengthy isolation in the

19 quarantine unit with limited opportunity to leave the cell, and difficulties in communicating

20 with defendant’s family in Honduras. Defense counsel raises concerns about defendant’s

21 health and mental well-being as a result of this isolation and communication difficulties.

22
     ORDER DENYING REQUEST FOR
     EMERGENCY RELEASE

     PAGE -2
            Case 2:20-cr-00094-RSM Document 73 Filed 09/18/20 Page 3 of 3




01         To some extent, the issues identified by defense counsel are inherent in the challenge of

02 communicating with a non-English speaking client held in detention. Nevertheless, these

03 issues have clearly been exacerbated by the necessary measures taken by the FDC to protect

04 the health and safety of inmates, counsel, staff, and others during the COVID-19 pandemic.

05 The government’s response to defendant’s request for temporary release indicates defendant

06 has tested negative for the virus and returned to general population. (Dkt. 71 at 4.) As defense

07 counsel and the government note, defendant has been able to engage in some, perhaps shorter,

08 phone conversations with his attorney. In-person attorney-client meetings are again permitted

09 at the FDC.

10         Defendant, a native and citizen of Honduras, has no ties to this community and no

11 release plan. He is charged in a large drug conspiracy case and faces the possibility of a

12 substantial sentence if convicted. Given the risk of nonappearance and risk of danger if

13 defendant were released into the community, as well as the opportunities for attorney-client

14 communication described by the government, the Court does not find release appropriate at this

15 time.

16         The motion is DENIED.

17         DATED this 18th day of September, 2020.

18

19                                                       A
                                                         Mary Alice Theiler
20                                                       United States Magistrate Judge

21

22
     ORDER DENYING REQUEST FOR
     EMERGENCY RELEASE

     PAGE -3
